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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                    Southern Division

ROBERT ROTHMAN et al.
                                                     FILED UNDER SEAL
                       Plaintiffs,

       – against –                                   Case No. PJM-20-3290

DANIEL SNYDER

                       Defendant,



         PLAINTIFFS’ EMERGENCY MOTION FOR PROTECTIVE ORDERS

       Plaintiffs Robert Rothman, Dwight C. Schar, and Frederick Smith (“Plaintiffs”)

respectfully submit Plaintiffs’ Emergency Motion for Protective Orders (“Motion for Protective

Orders”) and hereby move, pursuant to Federal Rules of Civil Procedure 5.2(d)-(e) and 26, Local

Rule 105.11 (D. Md), and the Court’s inherent power to manage its docket, for an order restricting

all parties to the above-captioned matter from revealing any information or pleadings from the

above-captioned matter to any third-party in addition to sealing the entire record and all pleadings

filed in the above-captioned matter which was previously requested for by Plaintiffs, and for the

reasons stated herein and in the accompanying Memorandum of Reasoning and Authorities.

       As described in Plaintiffs’ Motion to Seal the Entire Record filed on November 13, 2020,

the entire subject of the above-captioned matter addresses a confidential document (“Confidential

Document”) which has a strict confidentiality clause (“Confidentiality Clause”).

       For this reason, the entire record in the above-captioned matter is currently temporarily

sealed due to the filing of Plaintiffs’ Motion to Seal Entire Case Record on November 13, 2020

contemporaneous with the filing of Plaintiffs’ Complaint. Plaintiffs incorporate by reference



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Plaintiffs’ Motion to Seal Entire Case Record and that motion’s Memorandum of Reasoning and

Authorities into this instant motion.

       Unfortunately, on November 13, 2020, mere hours after the initial pleadings in the above-

captioned matter were provided to Defendant (including the Motion to Seal Entire Case Record),

Plaintiffs’ Complaint – which was filed under seal at Plaintiffs’ request – was publicly disclosed

to the New York Times.

       As a result of this public disclosure of pleadings which had been filed under seal in this

Court, Plaintiffs are – in addition to their pending Motion to Seal – further moving this Court for

additional protective protections.

       Plaintiffs respectfully request that this Court – in addition to sealing the entire record in the

above-captioned matter – restrict all parties to the above-captioned matter from revealing any

information or pleadings (which would be sealed pursuant to the Court’s sealing of this matter) to

any third party. Plaintiffs posit that this is necessary because pleadings and information from

Plaintiffs’ filings in this Court under seal were in fact revealed to the New York Times on November

13, 2020 and the sealing of these items was unable to prevent their dissemination to a third party.

       As described in more detail within the Memorandum of Reasoning and Authorities, specific

facts justify sealing the entire record here and restricting all parties to the above-captioned matter

from revealing any information or pleadings.          The Confidentiality Clause states that the

Confidential Document itself, and any discussions surrounding the Confidential Document, cannot

be disclosed to any third-party.

       As described in more detail within the Memorandum of Reasoning and Authorities, no

alternatives to sealing the entire court record (including protecting those documents from being

disclosed and provided to third-parties) would provide sufficient protection, because the entire



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subject matter of the above-captioned action addresses the Confidential Document, the contents of

the Confidential Document, and the discussions between the parties regarding the Confidential

Document.

       For these reasons, and for the reasons described in the accompanying Memorandum of

Reasoning and Authorities, Plaintiffs respectfully request that this Court, in addition to sealing the

record pursuant to Plaintiffs’ Motion to Seal:

       (1) issue an immediate temporary Order restricting all parties from disclosing any

            information, pleadings and/or documents obtained in the above-captioned matter to any

            third-party; and

       (2) issue a permanent Order restricting all parties from disclosing any information,

            pleadings and/or documents obtained in the above-captioned matter to any third-party.



  Dated: November 16, 2020                             Respectfully submitted,
         Bethesda, MD

                                                                            /s/

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                                                       Attorneys for Plaintiffs




                                  CERTIFICATE OF SERVICE

               I hereby certify that on November 16, 2020, I electronically filed the foregoing

Plaintiffs’ Emergency Motion for Protective Orders via e-mail to

christine.coogle@mdd.uscourts.gov and mdddb_civil_sealed@uscourts.gov, a copy of the instant

Plaintiffs’ Emergency Motion for Protective Orders was provided to Andrew Levander via

electronic mail at andrew.levander@dechert.com whom I understand is Counsel for Defendant

Snyder. Pursuant to the Court’s procedures, I intend to cause paper copies of this Plaintiffs’

Emergency Motion for Protective Orders to be deposited (under seal) in the Court’s drop box

before 4:00 pm.

                                                                /s/
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